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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN
_____________________________________________________________________________________

UNITED STATES OF AMERICA,

                                      Plaintiff,                       ORDER
       v.
                                                                     11-cr-65-wmc
TIMOTHY WHITEAGLE, CLARENCE
PETTIBONE and DEBORAH ATHERTON,

                                 Defendants.
______________________________________________________________________________________

       The scheduling order entered in this case on July 13, 2011 is hereby AMENDED to

reflect a trial length of two to three weeks.

       In all other respects, the order remains as entered.

       Entered this 14th day of July, 2011.

                                                BY THE COURT:

                                                /s/

                                                STEPHEN L. CROCKER
                                                Magistrate Judge
